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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

     Civil Action Number:

     JESUS GONZALEZ

            Plaintiff,
     vs.


     BRANDSMART USA DADELAND, LLC
     d/b/a Brandsmart and
     SUNSHINE LAND ASSOCIATES
     LIMITED PARTNERSHIP

                   Defendants.
                                                   /

                            COMPLAINT FOR INJUNCTIVE RELIEF

            Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

     hereby sues Defendant Brandsmart USA Dadeland, LLC doing business as Brandsmart and

     Defendant Sunshine Land Associates Limited Partnership, for injunctive relief pursuant to

     42 U.S.C. §§12181-12189 of the Americans with Disabilities Act (“ADA”) and 28 C.F.R.

     Part 36 and alleges:

                                           JURISDICTION

            1.      This is an action for declaratory and injunctive relief pursuant to Title III of

     the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

     vested with original jurisdiction under 28 U.S.C. §1331.

            2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

     events giving rise to this lawsuit occurred within the Southern District of Florida and the

     subject premises is located within the jurisdiction of this Court.




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             3.     Defendants are authorized to conduct, and are conducting, business within

     the State of Florida and within the jurisdiction of this court.

                                                PARTIES

             4.     Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff suffers

     from what constitutes a “qualified disability” under the ADA as he is disabled with

     neuropathy and nerve damage due to radiation and utilizes a wheelchair for mobility.

     Plaintiff’s disability is defined in 42 US Code §12102(1)(A), (2) and in 28 C.F.R.

     §36.105(b)(2) and 28 C.F.R. §36.105(2)(iii)(D).

             5.     Defendant Brandsmart USA Dadeland, LLC (also referenced as “Defendant

     Brandsmart USA,” “operator,” lessee” or “co-Defendant”) is a Florida limited liability

     Company which is a subsidiary of Brandsmart U.S.A., Inc., which is a private company.

     The Brandsmart brand is one of the leading consumer electronics and appliance retailers in

     the Southeastern United States. The parent company has nine retail stores in South Florida

     and the Atlanta area and a growing e-commerce presence at www.BrandsMartUSA.com.

             6.     Defendant Sunshine Land Associates Limited Partnership (also referenced as

     “Defendant Land Partnership,” “Lessor,” “Owner,” or “co-Defendant”) is the owner of real

     property located at 7260 North Kendall Drive, Miami Florida 33156, which is also known as

     the 7200 block of South Dadeland Boulevard and is also referenced as folio 30-5002-073-

     0020.    Defendant Land Partnership’s real property is built out as a mixed-use strip

     mall/commercial center which is leased (in part) to a container store, an “Old Navy” retail

     store, an “Office Depot” office supply store, and the Brandsmart consumer electronics store

     which is the subject of this instant action. The Brandsmart retail store is that portion of

     Defendant Land Partnership’s commercial property which is leased to co-Defendant




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     Brandsmart USA who in turn owns and operates its “Brandsmart” brand retail store at that

     location.

                                                 FACTS

            7.      Brandsmart stores sell consumer electronics such as computers, cell phones,

     televisions and home entertainment systems, home security systems, gaming equipment, car

     electronics, electronic toys, and other consumer electronics. All Brandsmart stores are

     places of public accommodation pursuant to 42 U.S.C. §12181(7)(E) and 28 C.F.R.

     §36.104(5) as an “other” sales establishment. The Brandsmart store located at 7260 North

     Kendall Drive which is the subject of this complaint is also referenced as “Brandsmart

     consumer electronics store,” “Brandsmart (at 7260 North Kendall Drive),” “consumer

     electronics store,” or “place of public accommodation.”

            8.      As the operator of consumer electronics stores which are open to the public,

     Defendant Brandsmart USA is defined as a “Public Accommodation” within meaning of

     Title III because it is a private entity which owns, or operates an “other” sales establishment;

     42 U.S.C. §12182, §12181(7)(E); 28 C.F.R. §36.104(5).

            9.      Due to the close proximity to Plaintiff’s home to the Brandsmart store at

     7260 North Kendall Drive, on May 23, 2021 Plaintiff went to that Brandsmart to see the

     latest electronics innovations and products.

            10.     When parking within close proximity of the Brandsmart, Plaintiff

     encountered barriers to entry. Later, while Plaintiff was shopping, Plaintiff had occasion to

     visit the restroom and while in the restroom Plaintiff met multiple areas of inaccessibility

     due to the fact that he is confined to his wheelchair.




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            11.     Due to the inaccessible facilities, Plaintiff has been denied full and equal

     access by the operator/lessee of the consumer electronics store (Defendant Brandsmart

     USA) and by the owner/lessor of the commercial property which houses the consumer

     electronics store (Defendant Land Partnership).

            12.     As the owner of many large consumer electronics stores, Defendant

     Brandsmart USA is well aware of the ADA and the need to provide for equal access in all

     areas of its consumer electronics stores. Therefore, Defendant Brandsmart USA’s failure to

     reasonably accommodate mobility impaired and disabled patrons by insuring that its

     Brandsmart located at 7260 North Kendall Drive is fully accessible is/was willful,

     malicious, and oppressive and in complete disregard for the Civil Rights of the Plaintiff and

     in violation of 28 C.F.R. §36.303.

            13.     As the owner of commercial real property, part of which is operated as a

     consumer electronics store open to the public, Defendant Land Partnership is also a “Public

     Accommodation” pursuant to 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5). On

     information and belief, as an investor and owner of commercial property being used as a

     public accommodation, Defendant Land Partnership is aware of the ADA and the need to

     provide for equal access in all areas of its commercial property which are open to the public.

     Failure to reasonably accommodate mobility impaired and disabled patrons at its

     commercial property by ensuring that its commercial property is fully accessible is/was

     willful, malicious, and oppressive and in complete disregard for the Civil Rights of the

     Plaintiff and in violation of 28 C.F.R. §36.303.




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             14.       As a result of the joint and several discrimination by Defendants, Plaintiff

     has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

     injury-in-fact.

             15.       Plaintiff continues to desire to patronize the Brandsmart located at 7260

     North Kendall Drive, but continues to be injured in that he continues to be discriminated

     against due to the barriers to access within that place of public accommodation, all which

     are in violation of the ADA.

             16.       Any and all requisite notice has been provided.

             17.       Plaintiff has been obligated to retain the civil rights law office of J. Courtney

     Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

     this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

     attorney’s fees, costs and expenses from Defendants pursuant to 42 U.S.C. §12205.

                       COUNT I – VIOLATIONS OF TITLE III OF THE ADA

             18.       The ADA was enacted and effective as of July 26, 1990 and ADA legislation

     has been protecting disabled persons from discrimination due to disabilities since that time.

     Since 30 years have passed since enactment of the ADA, public accommodations and places

     of public accommodation have had adequate time for compliance.

             19.       Congress explicitly stated that the purpose of the ADA was to:

             (i)       provide a clear and comprehensive national mandate for the
                        elimination of discrimination against individuals with disabilities;
             (ii)      provide clear, strong, consistent, enforceable standards addressing
                        discrimination against individuals with disabilities; and,
             (iii)     invoke the sweep of congressional authority, including the power to
                        enforce the fourteenth amendment and to regulate commerce, in
                        order to address the major areas of discrimination faced on a daily
                        by people with disabilities.

                       42 U.S.C. §12101(b)(1)(2) and (4).



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            20.     Prior to the filing of this lawsuit, Plaintiff personally visited the Brandsmart

     located at 7260 North Kendall Drive, however Plaintiff was denied adequate

     accommodation because, as a disabled individual who utilizes a wheelchair for mobility,

     Plaintiff met architectural barriers when parking his vehicle and when using the restroom.

     Therefore, Plaintiff has suffered an injury in fact.

            21.     Defendant Brandsmart USA (operator of the Brandsmart located at 7260

     North Kendall Drive) and Defendant Land Partnership (owner/lessor of the commercial

     property located at 7260 North Kendall Drive) have discriminated (and continue to

     discriminate) against Plaintiff by denying full and equal access to, and full and equal

     enjoyment of, goods, services, facilities, privileges, advantages and/or accommodations at

     the subject Brandsmart, in derogation of 42 U.S.C. §12101 et. seq., and as prohibited by 42

     U.S.C. §12182 et. seq. by failing to barriers to access pursuant to 42 U.S.C.

     §12182(b)(2)(a).

            22.     Defendants are jointly and singularly governed by the ADA and must be in

     compliance therewith. Defendants have jointly and severally discriminated against Plaintiff,

     a disabled patron, in derogation of 28 C.F.R. Part 36.

            23.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

     amended), the Department of Justice, Office of the Attorney General, promulgated Federal

     Regulations to implement the requirements of the ADA, known as the Americans with

     Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

     which said Department may obtain civil penalties of up to $75,000 for the first violation and

     $150,000 for any subsequent violation.




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             24.     The commercial space which is owned by Defendant Land Partnership

     (owner/lessor) and which houses the Brandsmart consumer electronics store (operated by

     Defendant Brandsmart USA) is in violation of 42 U.S.C. §12181 et. seq., the ADA, and 28

     C.F.R. §36.302 et. seq. As such, both the owner/lessor and the tenant/lessee are

     discriminating against the Plaintiff as a result of inter alia, the following specific violations:

       i.    As to Defendant Brandsmart USA (lessee/operator) and Defendant Land Partnership

             (owner/lessor of the property) (jointly and severally), Plaintiff had difficulty exiting

             his vehicle, as the designated accessible parking spaces are located in an area where

             the slopes are over 2.1%. Failure to provide accessible means of egress from the

             parking area to the Brandsmart due to the slope of the parking lot is in violation of

             2010 ADA Standards for Accessible Design Section 207.1 and Section 403.3 which

             states that the running slope of walking surfaces shall not be steeper than 1:20 and

             the cross slope shall not be steeper than 1:48 and Section 403.4 which requires

             change in slope to comply with Section 303, wherein Section 303.4 requires changes

             in level greater than ½ inch shall be ramped. See also Section 4.6.3 of the ADAAG

             which states that parking spaces and access aisles shall be level with surface slopes

             not exceeding 1:50 (2%) in all directions.

      ii.    As to Defendant Brandsmart USA (lessee/operator) and Defendant Land Partnership

             (owner/lessor of the property) (jointly and severally), Plaintiff could not transfer to

             the toilet without assistance, as the required maneuvering clearance was not provided

             due to the encroaching item (trash can). The fact that the trash bin is encroaching

             over the accessible water closet clear floor space is a violation of Section 4.16.2 of




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             the ADAAG and Sections 604.3.1 of the 2010 ADA Standards for Accessible

             Design.

      iii.   As to Defendant Brandsmart USA (lessee/operator) and Defendant Land Partnership

             (owner/lessor of the property) (jointly and severally), Plaintiff could not transfer to

             the toilet without assistance, as the side wall grab bar is not in the required location

             from the rear wall. This is a violation of Section 4.16.4 and Figure 29 of the

             ADAAG and Sections 604.5 of the 2010 ADA Standards for Accessible Design

             which states that the grab bar shall be 36 in (915 mm) minimum above the finished

             floor.

      iv.    As to Defendant Brandsmart USA (lessee/operator) and Defendant Land Partnership

             (owner/lessor of the property) (jointly and severally), Plaintiff could not use the seat

             cover dispenser without assistance, as it is mounted behind the water closet and out

             of reach for Plaintiff due to his disability. This is a violation of Section 4.2.5 at Fig.

             5(b) of the ADAAG and Section 308.2.1 of the 2010 ADA Standards for Accessible

             Design. Generally, the standards which require dispensers such as a seat cover

             dispenser be placed so that the maximum high forward reach is 48 in (1220 mm) and

             the minimum low forward reach is 15 in (380 mm) (see Fig. 5(a)). However, in this

             instance, due to the obstruction (of the toilet) to the seat cover dispenser, since the

             high forward reach is over an obstruction, Section 4.2.5 states that reach and

             clearances must meet those shown in Fig. 5(b), so that the maximum high forward

             reach is 46 in (1170 mm) and the minimum low forward reach is 34 in (865 mm).

       v.    As to Defendant Brandsmart USA (lessee/operator) and Defendant Land Partnership

             (owner/lessor of the property) (jointly and severally), Plaintiff could not use the




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            toilet without assistance, as the toilet paper dispenser is not in the proper position in

            front of the water closet or at the correct height above the finished floor, in violation

            of 2010 ADAAG §§604, 604.7 which states that toilet paper dispensers shall comply

            with Section 309.4 and shall be 7 inches (180 cm) minimum and 9 inches (230 cm)

            maximum in front of the water closet measured to the centerline of the dispenser.

            Further, the outlet of the dispenser shall be 15 inches (380 mm) minimum and 48

            inches (1220 mm) maximum above the finish floor and shall not be located behind

            grab bars. Section 604.9.6 further states that there must be a clearance of 1½ inches

            (38 mm) minimum below the grab bar and that dispensers shall not be of a type that

            controls delivery or that does not allow continuous paper flow. The subject toilet

            paper dispenser is in violation of these sections.

      vi.   As to Defendant Brandsmart USA (lessee/operator) and Defendant Land Partnership

            (owner/lessor of the property) (jointly and severally), Plaintiff was exposed to a

            cutting/burning hazard because the lavatory pipes (inside the stall) and water supply

            lines are not completely wrapped which is in violation of Section 4.19.4 of the

            ADAAG and Section 606.5 of the 2010 ADA Standards of Accessible Design,

            because the lavatory pipes are not fully wrapped or maintained.

            25.    Pursuant to 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304, the Defendants

     are required to make the commercial property which is being operated as a Brandsmart

     consumer electronics store accessible to persons with disabilities since January 28, 1992.

     Defendants have jointly and severally failed to comply with this mandate.

            26.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

     Plaintiff injunctive relief, including an order to alter the commercial property and the




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      consumer electronics store therein such that it is made readily accessible to, and useable by,

      individuals with disabilities to the extent required by the ADA.

             WHEREFORE, Plaintiff Jesus Gonzalez demands judgment against Defendant

      Sunshine Land Associates Limited Partnership (owner of the commercial property at 7260

      North Kendall Drive) and Defendant Brandsmart USA Dadeland, LLC (operator of the

      Brandsmart located at 7260 North Kendall Drive) and requests the following relief:

                a)       The Court declare that Defendants have violated the ADA;

                b)       The Court enter an Order directing Defendants to evaluate and neutralize

                their policies, practices and procedures toward persons with disabilities,

                c)       The Court enter an Order requiring Defendants to alter the commercial

                property located at 7260 North Kendall Drive and the Brandsmart located therein

                such that it becomes accessible to and usable by individuals with disabilities to

                the full extent required by the Title III of the ADA;

                d)       The Court award reasonable costs and attorneys fees; and

                e)       The Court award any and all other relief that may be necessary and

                appropriate.

      Dated this 15th day of June 2021.

                                                   Respectfully submitted,

                                                   /s/ J. Courtney Cunningham
                                                   J. Courtney Cunningham, Esq.
                                                   J. COURTNEY CUNNINGHAM, PLLC
                                                   FBN: 628166
                                                   8950 SW 74th Court, Suite 2201
                                                   Miami, Florida 33156
                                                   Telephone: 305-351-2014
                                                   Email: cc@cunninghampllc.com
                                                   Counsel for Plaintiff



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